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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division
   UNITED STATES, et al.,                        )
                                                 )
                          Plaintiffs,            )
          v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                                 )
   GOOGLE LLC,                                   )
                                                 )
                          Defendant.             )


                       MEMORANDUM OF LAW IN SUPPORT OF
                   PLAINTIFFS’ MOTION TO EXCLUDE OPINIONS OF
              ITAMAR SIMONSON AND RELATED OPINIONS OF MARK ISRAEL

          Plaintiffs respectfully move under Rule 702 of the Federal Rules of Evidence to exclude

   the opinions of Prof. Itamar Simonson, as well as the opinions of Dr. Mark Israel that rely on

   Prof. Simonson’s opinions. Prof. Simonson conducted three surveys of advertisers to gather

   information concerning their views and behaviors about digital advertising. Google’s principal

   economic expert, Dr. Israel, then used Prof. Simonson’s survey results to challenge Plaintiffs’

   market definitions in this case – namely, the markets for publisher ad servers, ad exchanges, and

   ad networks.

          Prof. Simonson’s surveys are fundamentally unreliable and fail to adhere to widely

   accepted standards in the field of survey design. In addition, Prof. Simonson’s flawed surveys

   sought answers to questions that are not relevant and will not assist the jury in deciding this case.

   Due to these fundamental flaws in the design and implementation of Prof. Simonson’s surveys,

   Google cannot satisfy its burden under Rule 702 to demonstrate that Prof. Simonson’s opinions

   are reliable and will assist the jury. The Court should therefore exercise its gatekeeping function

   to exclude Prof. Simonson’s surveys and opinions, as well as the opinions of Dr. Israel that rely

   thereon.
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                                           BACKGROUND

          A. Prof. Simonson Conducted Three Surveys Targeting Advertiser and Ad Agency
             Populations

          Google retained Prof. Simonson, a retired marketing professor, “to conduct surveys

   designed to examine how advertisers at companies and advertisers at ad agencies (collectively,

   ‘advertisers’) approach, manage, and evaluate digital advertising and, in particular, display

   advertising and programmatic display advertising.” See Exhibit A, January 23, 2024, Expert

   Report of Itamar Simonson, Ph.D. (“Simonson Rep.”) ¶¶ 1, 13. Market research firm Advertiser

   Perceptions, overseen by Prof. Simonson, facilitated three surveys: the “Higher-Spend

   Advertiser Survey,” the “Lower-Spend Advertiser Survey,” and the “Ad Agency Survey.” See

   id. ¶¶ 16, 30. The Higher-Spend Advertiser Survey targeted a universe of “advertisers and

   marketers based in the U.S. who work for companies that sell and advertise products or services

   (as opposed to ad agencies) and have spent over $500,000 on advertising in the past year.” Id. ¶

   42. The Lower-Spend Advertiser Survey targeted a similar universe of U.S.-based advertisers

   but who spent less than $500,000 on advertising in the past year. Id. ¶ 116. The Ad Agency

   Survey targeted “individuals based in the U.S. who work for ad agencies and assist their clients

   with media strategy . . . who have used programmatic display advertising in the past year for

   their primary client and who were personally involved in assisting their primary client with

   decisions regarding their use of display advertising.” Id. ¶ 165.

          B. Prof. Simonson Excluded Vital Advertisers and Ad Agencies from His Samples

          Market research firm Advertiser Perceptions selected samples of respondents for the

   three surveys from panels of potential respondents from U.S.-based “brand marketers, agency

   executives, media specialists, digital publishers and IT leaders directly involved in media and ad

   tech purchase decisions.” Id. ¶ 31. Advertiser Perceptions’ panels covered “the world’s top


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   brands and agencies—including 100% of the Ad Age Top 200 Advertisers.” Id. At Prof.

   Simonson’s direction, Advertiser Perceptions employed its “standard practices” to select a

   “sample that was representative of the U.S. advertiser population accounting for the vast

   majority of spending.” Id. (footnote omitted).

           Google’s counsel and Prof. Simonson then modified these samples, causing them to

   diverge materially from the target population: “At the direction of counsel, I asked AP

   [Advertiser Perceptions] to pre-screen respondents to ensure that they did not work for any

   companies that are parties to, were identified on the initial disclosures in, or have received

   subpoenas in connection with United States v. Google LLC, No. 1:23-cv-00108 (E.D. Va.) or the

   cases consolidated in In re Google Digital Advertising Antitrust Litigation, No. 1:21-md-03010

   (S.D.N.Y.), including Texas v. Google LLC, No. 4:20-cv-00957 (E.D. Tex.).” Id. ¶ 34.1

   Respondents who worked for the hundreds of companies on the resulting “No Contact List” did

   not participate in any of the surveys. Id. ¶ 34 & App’x I. Even if Google made the decision to

   exclude these participants based upon a concern about contact with them given the pendency of

   this litigation, that problem could have been cured in another manner (including notification and

   a request for permission to the Court or Plaintiffs). This decision made by Google’s counsel

   irreversibly impairs both the reliability and utility of the results.




   1
     Prof. Simonson testified in his deposition that the decision to exclude these entities and
   individuals “was an instruction from counsel, so I didn’t ask them, why are you telling me not to
   include them.” See Exhibit B, Excerpts of February 28, 2024, Deposition of Itamar Simonson
   (“Simonson Tr.”) at 167:18-21.


                                                       3
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           The No Contact List that was used to exclude potential survey participants contains a

   significant portion of the world’s top advertisers and ad agencies, including “numerous

   companies that are top advertising spenders and revenue generators for Google.” Exhibit C,

   February 13, 2024, Expert Rebuttal Report of Wayne D. Hoyer, Ph.D. (“Hoyer Rep.”) ¶ 66.2

   Notably, Prof. Simonson excluded the six largest global ad agencies—WPP, Publicis Groupe,

   Omnicom, Interpublic, Dentsu, and Havas—collectively known as the “Big 6.” Id. ¶ 67(b); Exh.

   A, Simonson Rep. App’x I. According to an internal Google presentation, in the first quarter of

   2023, five of the Big 6 accounted for two-thirds of Google’s ad agency revenue. See Exh. C,

   Hoyer Rep. ¶ 67(b); Exhibit D (GOOG-AT-MDL-008285890, at -899).3

           The No Contact List also excluded the following advertisers:

          30 of the Fortune 100 largest companies by revenue, including 5 of the top 10;

          Top digital advertisers in the United States across retail, finance, home and décor,

           employment services, traditional media, SaaS (Software as a Service), and streaming

           services, including Amazon, Target, Walmart, eBay, Lowe’s, Kohl’s, State Farm,

           American Express, Motley Fool, Wayfair, Instacart, Monster Government Solutions,

           LinkedIn, Fox Corp., The Washington Post, Warner Bros. Discovery (Brands include

           CNN and Max), Buzzfeed, Bloomberg L.P., The New York Times Company, Match

           Group, Adobe, Paramount Global, The Walt Disney Company, AT&T, Netflix, Comcast,

           and Hilton Worldwide Holdings; and




   2
    Plaintiffs’ rebuttal survey expert, Wayne D. Hoyer, is a Professor of Marketing at the
   McCombs School of Business at the University of Texas at Austin with more than four decades
   of experience in the field.
   3
    Plaintiffs have only included the relevant excerpt of this document given its length. Plaintiffs
   will provide the Court with the full document upon request. The same is true for Exhibit E.


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          29 percent of the Ad Age Top 200 Advertisers that anchor the primary panel Prof.

           Simonson drew from, including 9 of the top 10 advertisers; 29 of the top 50 advertisers;

           and 58 of the top 200 advertisers. These 58 companies accounted for half of the total

           advertising dollars of the 200 largest advertisers in 2022.

   See Exh. C, Hoyer Rep. ¶¶ 66-67 & n. 111, 112.

           Google’s own business documents indicate that companies on the No Contact List that

   were excluded from the survey population represent an outsized portion of the companies that

   use Google’s ad tech tools. Nine of 15 advertisers Google identified as “Top Whales” in a 2023

   presentation were excluded from Prof. Simonson’s sample. Id. ¶ 68; Exhibit E (GOOG-AT-

   MDL-011124130, at -141); Exhibit F (GOOG-AT-MDL-011120632, at -641). Similarly, Prof.

   Simonson excluded Walmart, Target, and CVS—advertisers that Google identified in a 2019

   presentation as 3 of its “Top 6 Whales.”4 See Exh. C, Hoyer Rep. ¶ 68; Exhibit G (GOOG-DOJ-

   03047055, at -062);5 Exh. A, Simonson Rep. App’x I.

           In addition to these broad exclusions, Google’s counsel directed Prof. Simonson to reveal

   the sponsor and purpose of the survey to respondents after they completed their surveys for all

   three surveys. Exh. B, Simonson Tr. at 289:13-290:15. At the conclusion of the surveys,

   respondents were informed that the surveys were conducted “on behalf of Google” and “in




   4
     Having subpoenaed Walmart and other major advertisers for documents, Google presumably
   thought the views of these companies were relevant to this case, despite the decision to exclude
   these very same entities from their sponsored survey.
   5
     Discussing “whales” in the context of retailers, one example Google document discussing large
   advertisers defines “whales” as companies that have the most power and money. See Exh. G at -
   062 (“Segment 1 – Top 6 Whales (i.e. Walmart, Target): The Top 6 retailers have the most
   power and this is where the money is[.] Understand that the majority of opportunity lies within
   these 6, but it’s also key to understand that it’s necessary to respect these longstanding
   merchant/manufacturer relationships”).


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   connection with pending antitrust lawsuits in which the plaintiffs allege that Google engaged in

   anticompetitive conduct related to digital advertising.” Simonson Report ¶ 80. Respondents

   were then asked if they wanted to “participate in this survey” and have their responses included

   or excluded. See Exh. A, Simonson Rep., App’x F.1, at F.1-21; App’x G.1, at G.1-17; App’x

   H.1, at H.1-19. 16 percent of respondents in the Higher-Spend Advertiser Survey, 24 percent of

   respondents in the Lower-Spend Advertiser Survey, and 15 percent of respondents in the Ad

   Agency Survey chose to exclude their completed responses based on this disclosure. Exh. A,

   Simonson Rep. Exhibit 2; Exhibit 38; Exhibit 69. None of the survey data for these respondents

   were retained as part of the study, and thus Prof. Simonson has no way to evaluate whether the

   exclusion of these respondents skewed the results of his survey. Exh. B, Simonson Tr. at 298:8-

   299:16. As a result, it is impossible to determine whether the disclosure of the sponsor and

   purpose of the surveys biased the outcome of the surveys for all three samples.6

          C. Prof. Simonson Incorrectly Asked Diversion Questions About Display
             Advertising Rather Than the Ad Tech Tools at Issue

          After a series of introductory and screening questions, Prof. Simonson’s surveys included

   questions in four areas: “Use of Ad Agencies”; “Budget Allocation and Substitution”; “Use of

   Ad Buying Tools for Programmatic Display (Multi-homing)”; and “Measuring Performance.”

   Exh. C, Hoyer Rep. ¶ 30. The initial question in the “Budget and Allocation” section asked

   respondents to estimate their business unit/team’s budget allocation across ten types of digital

   advertising: Search, Programmatic Display, Direct Deals Display, Email, Digital Audio, Social,

   App/In-app, Digital Video, Connected TV, or eCommerce. See Exh. A, Simonson Rep., App’x


   6
     Plaintiffs recognize that survey participants were unaware of Google’s sponsorship while
   completing the survey. However, as the opt-outs that compromised the sample were borne out of
   the disclosure, the violation of double-blind protocols at the survey’s conclusion nevertheless
   impacts the survey’s validity.


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   F.1, at F.1-12; App’x G.1, at G.1-12; App’x H.1, at H.1-11. Plaintiffs’ claims in this case relate

   only to technology tools used to buy and sell programmatic (i.e., automated) display advertising

   sold on the open web. Am. Compl. ¶¶ 282-303. The surveys then presented respondents with

   the following question (“Diversion Question”):

          Now suppose that, based on your analysis, the cost of programmatic display
          advertising has recently increased by a small but significant amount, and will
          remain elevated for the foreseeable future. Assume further that, based on similar
          analyses for other digital advertising types, the costs of other digital advertising
          types have not changed and are not expected to change.

          So if the cost of programmatic display advertising increases (while the cost of other
          advertising types remains the same), will you or won’t you divert some of your
          advertising spending for the coming year to other types of digital advertising?

   Exh. A, Simonson Rep. ¶ 65 (emphases in original).7 Those who respond “Yes, I will divert

   some of my advertising spending for the coming year to other types of digital advertising” were

   then asked to which of the ten types of advertising they would “divert [their] advertising

   spending for the coming year as a result of the increase in the cost of programmatic display

   advertising[.]” Id. (emphasis in original). Respondents who did not answer “None of the

   above” or “Don’t know / Unsure” were prompted to use a sliding scale to indicate the extent they

   “would divert (that is, increase) advertising spending for the coming year to each type of digital

   advertising [they] just indicated.” Id. ¶ 66 (emphasis in original). The surveys did not define

   the key phrases “small but significant amount” or “for the foreseeable future.” Exh. C, Hoyer




   7
    The Diversion Question also incorporated two follow-up questions concerning whether
   advertisers would shift their spend and the extent of those hypothetical shifts. See Simonson
   Report, Appendix F.1, at F.1-13-14 (Higher-Spend Advertiser Survey, Q6 and Q7); Appendix
   G.1, at G.1-13-14 (Lower-Spend Advertiser Survey, Q10 and Q11); Appendix H.1, at H.1-12-13
   (Ad Agency Survey, Q5 and Q6). Plaintiffs move to exclude all results and reliance on the
   Diversion Question and these follow-up questions.


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   Rep. ¶¶ 73-74.8

          Although the Diversion Question broadly asked about advertisers’ response to a

   hypothetical increase in the cost of programmatic display advertising, it did not ask about the

   component of the specific cost at issue in this case: technology tools used to buy and sell

   programmatic display advertising.9 See Exh. C, Hoyer Rep. ¶ 107. Nor do any other questions

   in Prof. Simonson’s surveys. Id. In fact, Prof. Simonson conceded that it was not “an objective

   of the survey to look at components of cost and so on,” because he thought that doing so would

   have made the survey too confusing. Exh, B, Simonson Tr. at 354:4-20.

          D. Dr. Israel Relies on Prof. Simonson’s Flawed Surveys to Opine About Advertiser
             Substitution

          Prof. Simonson asked his Diversion Question in service of Google’s economic expert,

   Dr. Mark Israel. Dr. Israel’s opinion criticizing Plaintiffs’ market definition—publisher ad

   servers, advertising exchanges, and advertiser ad networks—relies heavily on Prof. Simonson’s

   surveys and report.10 See Exhibit H, January 23, 2024, Expert Report of Mark Israel (“Israel



   8
     Prof. Simonson pretested the survey, which is supposed to identify problems with the survey
   before it is conducted. However, the pretest protocol was methodologically flawed in requiring
   respondents to take a 39-question survey with many detailed subparts before they were asked
   about whether they considered any questions unclear. See Simonson Report, Appendix E, at E-2.
   And Prof. Simonson did not retain the results of the pretest, making it impossible to know
   whether pretest respondents were in fact confused by the Diversion Question. See Exh. B,
   Simonson Tr. at 229:21-230:8.
   9
     As explained further below, the relevant question to determine the appropriate scope of an
   antitrust market is how respondents would react to the increase in the price of the ad tech tools
   themselves (but one component of the cost of digital advertising), not how they would react to an
   increase in the price of digital advertising overall (which is much larger).
   10
     Dr. Israel explicitly relies on Prof. Simonson’s surveys and report in the following paragraphs
   of his report: 48, 196-98, 200, 211, 220, 235-38, 240, 247-48, 252, 283, 589, 630, many of which
   include figures based on Prof. Simonson’s surveys. Plaintiffs move to exclude any portions of
   Dr. Israel’s report rely on the survey results, the Diversion Question, and/or any follow-up
   questions relating to the Diversion Question.


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   Rep.”) ¶¶ 48; Exhibit I, Excerpts of March 14, 2024, Deposition of Mark Israel (“Israel Tr.”) at

   411:7-16. Dr. Israel rejects these three markets in favor of an undifferentiated, amalgamated, and

   problematic “two-sided transaction market for display advertising.” Israel Rep. ¶ 48. Because Dr.

   Israel considers anything that may reduce any open web display advertising transactions a

   competitive constraint on Google’s specific open-web display advertising tools, id., he seeks to

   show that advertisers would switch to different forms of digital advertising, such as social media

   and in-app advertising, in response to a potential price increase for programmatic display

   advertising.

          Prof. Simonson’s surveys are a significant part of Dr. Israel’s empirical basis for his

   market definition opinions. See id. ¶¶ 235-38. Dr. Israel also leans on Prof. Simonson’s surveys

   for the proposition that advertisers use multiple ad buying tools. Id. ¶¶ 196, 197, 589, 630.

   Critically, however, Dr. Israel admitted that while he looked at the underlying data he “did not

   do any independent analysis of the backup data” and “reli[ed] on [Prof. Simonson] for the

   methods and the analysis.” Exh. I, Israel Tr. at 412:9-21. Dr. Israel also admitted that he had

   never conducted a survey and “wouldn’t hold [himself] out as a survey expert.” Id. 412:22-

   413:3, 413:12-13. While Dr. Israel also referenced “other empirical evidence,” such as Google’s

   own documents and third-party materials, which purport to supplement the survey results, the

   surveys themselves are a significant part of Dr. Israel’s opinions about advertiser substitution.

                                         LEGAL STANDARD

      A. Standards for Admissibility Under Rule 702 and Daubert

          Courts applying Federal Rule of Evidence 702 have a gatekeeping responsibility to

   “ensur[e] that an expert’s testimony both rests on reliable foundation and is relevant to the task

   at hand.” Nease v. Ford Motor Co., 848 F.3d 219, 229 (4th Cir. 2017) (quoting Daubert, 509



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   U.S. at 597) (emphasis in original). As revised, Rule 702 places the burden of demonstrating that

   the expert’s testimony will meet these foundational requirements on the party seeking to

   introduce that testimony. Fed. R. Evid. 702 (effective December 1, 2023) (adding that a properly

   qualified witness “may testify in the form of an opinion or otherwise if the proponent

   demonstrates to the court that it is more likely than not” that requirements (a) through (d) of the

   Rule are satisfied).

          This gatekeeping duty is heightened in a jury trial because of the difficulty a juror has in

   evaluating such testimony. Id. at 231; see also Westberry v. Gislaved Grummi AB, 178 F.3d 257,

   261 (4th Cir. 1999); Sardis v. Overhead Door Corp., 10 F.4th 268, 275 (4th Cir. 2021). The

   proponent of expert opinion testimony must establish its admissibility by a preponderance of

   proof. Daubert v. Merrell Dow, 509 U.S. 579, 592 n.10 (1993); Fed. R. Evid. 702. A thorough

   and extensive cross-examination of this testimony “does not ensure reliability of the expert’s

   testimony [and] such testimony must still be assessed before it is presented to the jury.” Id.

   (citing McClain v. Metabolife Int’l., Inc., 401 F.3d 1233, 1238 (11th Cir. 2005)).

          As with other expert evidence, surveys are subject to Rule 702 and Daubert scrutiny.

   The proponent of an expert survey bears the burden of establishing its admissibility. See

   Valador, Inc. v. HTC Corp., 242 F. Supp. 3d 448, 456 (E.D. Va. 2017) (citing Cooper v. Smith &

   Nephew, Inc., 259 F.3d 194, 199 (4th Cir. 2001)). Courts recognize that the Federal Judicial

   Center’s Reference Guide on Survey Research11 identifies the “applicable professional standards

   for survey research,” and assists courts in evaluating the admissibility of survey evidence. Coryn




   11
     Federal Judicial Center, Shari Seidman Diamond, Reference Guide on Survey Research, in
   Reference Manual on Scientific Evidence 359-423 (3d ed. 2011) (“FJC Reference Guide”),
   available at https://www.fjc.gov/sites/default/files/2015/SciMan3D01.pdf.


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   Group II, LLC v. O.C. Seacrets, Inc., Civil No. WDQ-08-2764, 2010 WL 1375301, at *7 n.17

   (D. Md. Mar. 30, 2010). See also Estes Park Taffy Co., LLC. v. Original Taffy Shop, Inc., Civil

   Action No. 15-cv-01697-CBS, 2017 WL 2472149, at *1 n.2 (D. Colo. June 8, 2017). The FJC

   Reference Guide is “intended to assist judges in identifying, narrowing, and addressing issues

   bearing on the adequacy of surveys either offered as evidence or proposed as a method for

   developing information.” FJC Reference Guide at 362.

      B. An Expert’s Survey Must Be Reliable To Be Admissible

          An expert’s survey and conclusions may be excluded under Rule 702 if the survey “was

   fundamentally flawed” or suffers from “fatal flaws,” as opposed to “mere technical flaws,”

   which instead may go towards the weight of the evidence. Valador, 242 F. Supp. 3d at 448

   (citing Citizens Fin. Grp., Inc. v. Citizens Nat'l Bank of Evans City, 383 F.3d 110, 121 (3d Cir.

   2004)). Fatal flaws are methodological deficiencies that are “so substantial as to render survey

   conclusions untrustworthy.” In re Motor Fuel Temperature Sales Practices Litig., 2012 WL

   13050523, at *6 (D. Kan. Feb. 29, 2012).

          “An expert’s survey meets Daubert’s reliability standards if [among other things] the

   expert . . . properly defines the ‘universe’ of respondents” and “selects a representative sample of

   that universe.” Navarro v. P&G, 501 F. Supp. 3d 482, 497-498 (S.D. Ohio 2020). “Identification

   of a survey population must be followed by a selection of a sample that accurately represents that

   population.” FJC Reference Guide at 380. “[A] sample that accurately represents the target

   population must be selected, and procedures must be taken to reduce the likelihood of a biased

   sample.” Menasha Corp. v. News America Mktg. In-Store, Inc., 238 F. Supp. 2d 1024, 1030

   (N.D. Ill. 2003); Manual for Complex Litigation 4th ed. § 11.493 (2004) (considering whether

   “the sample chosen was representative of that population”), https://www.uscourts.gov/



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   sites/default/files/mcl4.pdf. An underinclusive survey may fail to reflect the relevant population

   accurately, and a survey where the sample is “underinclusive to a significant degree . . . would be

   unreliable, and thus inadmissible, under Daubert.” Navarro, 501 F. Supp. 3d at 498.

          Surveys are inadmissible under Rule 702 when their underlying samples omit substantial

   constituencies whose opinions are necessary to understand the issue being assessed by the

   survey. See Hi Ltd. P’ship v. Winghouse of Fla., Inc., 2004 U.S. Dist. LEXIS 30687, at *25-26

   (M.D. Fla. Oct. 5, 2004) (survey had “patently flawed methodology striking at the heart of the

   survey’s validity” because it failed to include women, who comprised roughly a third of the

   competing restaurants’ clientele); FTC v. Fleetcor Technologies, Inc., 2022 U.S. Dist. LEXIS

   143169 (N.D. Ga. Aug. 9, 2022) (holding survey inadmissible under Daubert in light of the

   “deeply unrepresentative sample” that excluded customers for much of the time period in

   question). When assessing whether a survey’s flaws make it unreliable, courts consider the role

   counsel played in jeopardizing survey design and sample construction. See, e.g., Johnson v. Big

   Lots Stores, Inc., 2008 U.S. Dist. LEXIS 35316, at *52 (E.D. La. 2008) (“[T]he role that Big

   Lots’ former counsel played in directing how the interviews were conducted casts doubt on the

   reliability of the interviews and gathered data.”).

      C. An Expert’s Survey Must Be Relevant To Be Admissible

          Rule 702 requires an expert’s testimony to “help the trier of fact to understand the

   evidence or to determine a fact in issue.” Fed. R. Evid. 702(a). The Supreme Court explained

   that this is primarily a question of relevance and whether the expert testimony is a proper “fit”

   for the facts of the case. Daubert, 509 U.S. at 591. “Expert testimony which does not relate to

   any issue in the case is not relevant and, ergo, non-helpful.” Daubert, 590 U.S. at 591-92.




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          A survey is inadmissible on relevance (fitness) grounds where it fails to shed light on a

   fact in issue. See Scotts Co. v. United Indus. Corp., 315 F.3d 264, 281 (4th Cir. 2002) (reversing

   district court’s admission of survey evidence because the survey “addresses issues that are not

   relevant to [plaintiff’s] false advertising claim”). When a party proposes to admit the opinion of

   a survey expert, the survey questions themselves must be relevant. “One indication that a survey

   offers probative evidence is that it was designed to collect information relevant to the legal

   controversy.” FJC Reference Guide at 373. “Nonetheless, surveys do not always achieve their

   stated goals. Thus, the content and execution of a survey must be scrutinized whether or not the

   survey was designed to provide relevant data on the issue before the court.” Id.

                                             ARGUMENT

          The fundamental flaws in Prof. Simonson’s methodology render his opinions

   inadmissible. First, Prof. Simonson excluded such a significant portion of the population for his

   Ad Agency Survey and Higher-Spend Advertiser Survey that his samples are not representative

   of the populations he intended to survey. These samples became even less representative when

   many respondents withheld their responses upon learning that Google sponsored the survey in

   connection with antitrust litigation. This affected all three surveys, rendering them each

   unreliable and inadmissible.

          Second, the Diversion Question—the primary question in all three surveys that asked

   advertisers about their willingness to substitute to other types of digital advertising—sheds no

   light on any question relevant to this case because it relates only to the cost of programmatic

   display advertising as a whole, rather than the cost of display advertising tools. Moreover, the

   question is unreliable because it was written so ambiguously that it requires respondents to

   speculate on its meaning. Thus the survey respondents’ answers to this flawed and confusing



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   question cannot provide a reliable basis for Prof. Simonson’s or Dr. Israel’s opinions and those

   opinions should therefore be excluded.

      I.      PROF. SIMONSON’S SURVEYS ARE INADMISSIBLE

           A. The Ad Agency and Higher-Spending Advertiser Surveys Are Unreliable
              Because Their Samples Are Unrepresentative of the Target Populations

           Prof. Simonson’s Ad Agency Survey and Higher-Spend Advertiser Survey and his

   associated opinions are inadmissible because the samples used to conduct those surveys were not

   representative of the populations they purported to study. Absent a representative sample, no

   reliable conclusions can be drawn about the views of the target population.

           Prof. Simonson’s exclusion of large swaths of top ad agencies and advertisers, at the

   direction of Google’s counsel, precludes Google from demonstrating that Prof. Simonson studied

   representative samples of the populations he sought to survey. Prof. Simonson’s actions fail to

   satisfy the proper standards for conducting a survey intended for use in litigation, which stress

   that “[i]dentification of a survey population must be followed by a selection of a sample that

   accurately represents that population.” FJC Reference Guide at 380. As a result, Prof.

   Simonson’s surveys are unreliable, and the Court should exclude the opinions Prof. Simonson

   derives from those surveys and Dr. Israel’s opinions that rely on Prof. Simonson’s work.

           Winghouse is on point. There, women comprised roughly one-third of the relevant

   consumer clientele, but they were excluded from the sample in Winghouse’s expert’s survey.

   2004 U.S. Dist. LEXIS 30687 at *25. Hooters argued that the survey was inadmissible because,

   among other things, the survey “did not use a fair sampling of the full range of potential

   customers for whom Winghouse and Hooters compete.” Id. at *23. The court agreed because

   excluding women “reflect[ed] a patently flawed methodology striking at the very heart of the

   survey’s validity.” Id. at *25-26.


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          Fleetcor similarly excluded survey evidence where, as here, the sample was

   unrepresentative of the target population. In an enforcement action against a payment-card

   company for false advertising and unfair fee practices, the FTC moved to exclude the company’s

   expert survey, which sought to study whether the company’s marketing efforts deceived its card

   program customers from June 2014 to June 2020. 2022 U.S. Dist. LEXIS 143169 at *9. The

   survey expert had excluded customers from nearly the entire relevant time period, only surveying

   customers who had made a transaction after April 2020. The court held that such exclusions

   rendered the sample so “deeply unrepresentative” that the survey expert’s opinions should be

   excluded. Id. at *15 (internal citation omitted). And the problems created by the

   unrepresentative sample in Fleetcor were “compounded” by the expert asking critical questions

   in a manner that failed to provide relevant or reliable information, which are flaws that likewise

   infect Prof. Simonson’s survey here. Id. at *16, 24; see infra Section II.

          As in Fleetcor and Winghouse, Prof. Simonson’s Ad Agency Survey and Higher-Spend

   Advertiser Survey suffer from fundamental flaws because his samples fail to reflect the

   populations he intended to survey. At counsel’s direction, Prof. Simonson excluded the Big 6 ad

   agencies, critical digital ad spenders, Google’s own “Top Whale” advertisers, and a substantial

   portion of the Ad Age Top 200 that anchors the AdPROS panel lauded by Prof. Simonson. Exh.

   A, Simonson Rep. ¶ ¶ 67-68. The removal of such a large portion of the target population from

   the pool of potential respondents undermines any notion that the results of the Ad Agency

   Survey and Higher Spend Advertiser Survey represent the views of the broader populations they

   were supposed to study. In light of these extraordinary exclusions, Google cannot bear its

   burden to demonstrate that Prof. Simonson’s sample is reliable. These surveys and the

   conclusions that Prof. Simonson draws from them are inadmissible. And, as a result, the opinions



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   of Dr. Israel that rely upon them are likewise inadmissible because Dr. Israel is not a survey

   expert and did not independently verify or analyze Prof. Simonson’s data, analyses, or

   conclusions. Therefore, Dr. Israel lacks any basis—much less a reliable one—to rely on

   analyses, opinions, and conclusions of Prof. Simonson that are themselves unreliable and

   inadmissible.

          B. Disclosing the Surveys’ Sponsor and Purpose, and Allowing Respondents to
             Exclude Their Completed Responses, Renders the Surveys Unreliable

          “To ensure objectivity in the administration of the survey, it is standard interview practice

   in surveys conducted for litigation to do double-blind research whenever possible: Both the

   interviewer and the respondent are blind to the sponsor of the survey and its purpose.” FJC

   Reference Guide at 410-411. Where the sponsorship of a survey is disclosed, courts should

   consider “(1) whether the sponsor has views and expectations that are apparent and (2) whether

   awareness is confined to the interviewers or involves the respondents.” Id. at 411. “For

   example, if a survey concerning attitudes toward gun control is sponsored by the National Rifle

   Association, it is clear that responses opposing gun control are likely to be preferred.” Id.

          Prof. Simonson’s disclosure of the surveys’ sponsor and purpose at its conclusion and

   allowing respondents to opt-out after learning that information is at odds with the principle of

   double blindness, thus further undermining the reliability of Prof Simonson’s surveys. Prof.

   Simonson acknowledged that using a double-blind survey is “an important principle that [he

   tries] to follow,” and that the disclosures he made to respondents in this case are “uncommon” in

   litigation surveys. Exh. B, Simonson Tr. 285:22-286:11; 213:10-313:12. Indeed, Prof.

   Simonson could not recall a single other instance—among the thousands of surveys he has

   conducted—when he revealed a survey’s sponsor and purpose at a survey’s conclusion and




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   allowed respondents to then exclude themselves, as he did here. See id. 286:12-287:3; 288:12-

   288:21.

          After having completed Prof. Simonson’s surveys, respondents were informed that the

   surveys were conducted “on behalf of Google” and “in connection with pending antitrust

   lawsuits in which the plaintiffs allege that Google engaged in anticompetitive conduct related to

   digital advertising.” Exh. A, Simonson Rep. ¶¶ 79-80. Like the example in the FJC Reference

   Guide, these disclosures indicated to respondents that answers supportive of Google’s litigating

   positions “are likely to be preferred.” This in turn provided a reason for respondents to opt out if

   their answers were not supportive of Google’s positions. Between fifteen percent and nearly a

   quarter (24%) of survey respondents availed themselves of this opportunity to exclude their

   responses from the survey immediately after reading this disclosure. See id. 1, 37, 68.

          Prof. Simonson has no data from the respondents who opted out and therefore has no way

   to know whether and to what degree these disclosures biased his survey results. See Exh. B,

   Simonson Tr. at 298:16-17 (“Obviously, those that were excluded, I don’t have their data.”). As

   Prof. Hoyer points out, “where respondents took the time to complete the surveys but then

   choose to be excluded once they learned that the survey was sponsored by Google in the context

   of a litigation suggests that these respondents must have differed systematically from those who

   chose to include their responses in the survey.” Exh. C, Hoyer Rep. ¶ 14. Regardless of whether

   the opt-outs actually biased the survey results, Google cannot meet its burden to show that the

   three surveys were reliable without data from the individuals who excluded themselves. See Fed.

   R. Evid. 702.




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          C. The Interference of Google’s Counsel in the Design of the Surveys Undermines
             Their Reliability

          Counsel’s involvement in survey design and administration compromises a survey’s

   objectivity and reliability when it is linked to methodological flaws. See Big Lots Stores, 2008

   U.S. Dist. LEXIS 35316, at *53-55. For example, in Big Lots Stores, plaintiffs moved to exclude

   the opinion and report of a survey expert as unreliable under Daubert, challenging the

   unrepresentativeness of the sample and the role defendant’s counsel played “in identifying store

   locations and individuals that [were] interviewed.” Id. at *57. The court concluded that that the

   survey sample was deficient, linking counsel’s pre-screening activities to the deficient sample.

   Id. at *56-57. “Big Lots’ decision not to conduct a larger survey means that it has to live with

   the legal consequences of the slipshod work done by [the expert] and its own decision to unduly

   enmesh its lawyer in the survey process.” Id. at *56.

          Google, like the defendant in Big Lots Stores, interfered with its expert’s surveys in

   fundamental ways. Google’s counsel directed Prof. Simonson to exclude the companies on the

   No Contact List, making the samples in the Higher-Spend Advertiser Survey and the Ad Agency

   Survey unrepresentative of the survey population. See Exh. A, Simonson Rep. ¶ 34. Contrary to

   industry practice, Google’s counsel also dictated that each of the surveys reveal their sponsor and

   purpose and provide respondents with the choice to opt-out based on that information. See Exh.

   A, Simonson Tr. at 289:20-290:6;315:13-315:24. Google’s counsel’s interference exacerbates

   the fatal flaws in Prof. Simonson’s surveys because it underscores that the survey-design choices

   that caused the flaws were made by advocates, rather than experts. Therefore, the surveys were

   neither “the product of reliable principles and methods” nor “reflect[ive] [of] a reliable

   application of [those] principles and methods.” Fed. R. Evid. 702.




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      II.      THE DIVERSION QUESTION, WHICH IS CRITICAL TO PROF.
               SIMONSON’S SURVEYS, IS IRRELEVANT AND UNRELIABLE

      A. The Diversion Question Is Not Relevant Because It Does Not Ask About the Product
         Markets at Issue

            The results of the Diversion Question from all three surveys are inadmissible, because

   that question is not relevant to any issue in this case. The surveys were designed to study

   advertiser substitution behavior to determine whether the product markets Plaintiffs allege—

   three kinds of tools used to buy and sell programmatic display advertising—are properly defined.

   But Prof. Simonson studied the wrong kind of advertiser substitution by asking the wrong

   Diversion Question: How advertisers would respond to a change in the price for programmatic

   display advertising overall, rather than a change in the price of the ad tech tools that are at issue.

            A proper question concerning advertiser responses to a hypothetical increase in the cost

   of the ad transaction tools at issue here may be relevant to the issue of market definition.

   Antitrust claims are generally analyzed in the context of a specific “market” for a group of

   products or services. That relevant product market may be defined by considering the extent to

   which buyers of the allegedly monopolized product are likely to substitute to other products in

   the face of a sustained price increase on the allegedly monopolized product. The more easily

   buyers can substitute away from the allegedly monopolized product, the more likely it is that the

   relevant market is broader than the one allegedly monopolized. For example, if a plaintiff

   alleged that a firm monopolized a market for solar panel installation services, the defendant

   could try to demonstrate that the market is broader (and thus that the firm has less power than

   plaintiff claims) by marshaling evidence that enough buyers would be likely to switch to other

   types of installers or means of installation in response to a price increase on the allegedly

   monopolized installation services, such that the price increase is unprofitable.



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           Continuing this example, Prof. Simonson’s Diversion Question is analogous to asking

   consumers who demand both solar panels and solar panel installation what they would do in

   response to an increase in the price of solar panels themselves rather than an increase in the price

   of installation services, much of which could be driven by the other inputs to the overall cost of

   an installed solar panel, such as raw materials, tariffs, or research and development, none of

   which bear on the price of solar panel installation.

           The Diversion Question asks about the total cost of programmatic display advertising, but

   only one component of those total costs—advertising technology tools—are relevant to this case.

   An increase in the cost of programmatic display advertising would include the cost not only of

   the ad tech tools to facilitate the transaction, but also significantly larger costs of the creative

   work needed to produce the ad as well as the cost of placement of the ad on publisher websites.

   In other words, an increase in the cost of ad tech tools would be a fraction of the cost of

   programmatic display advertising. Moreover, advertisers bear only about 20 percent of any

   increase in the cost of ad tech tools; publishers pay the rest. See Exhibit J, December 22, 2023,

   Expert Report of Timonthy Simcoe ¶ 255, Figure 21. Thus, the Diversion Question improperly

   asks respondents about their anticipated reaction to a hypothetical “small but significant” change

   in the price of what advertisers would pay for programmatic display advertising, rather than the

   considerably smaller change that is relevant to defining a market for display ad tools. The

   question thus provides no relevant insight into how advertisers would respond to a small but

   significant change in the cost of any ad tech tool. As a result, Google cannot show that Prof.

   Simonson’s Diversion Question is relevant to any issue in this case.

           The Fourth Circuit addressed a similar situation in Scotts, where it reversed the trial

   court’s admission of a survey on relevance grounds because the survey failed to shed light on a



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   fact in issue. There, the plaintiff in a false advertising case claimed that defendants’ packaging

   was misleading because it suggested that defendant’s product would kill crabgrass that had

   already sprouted (i.e., “mature” crabgrass). In support of that claim, the plaintiff submitted a

   survey, which purported to show that 92.5% of respondents were misled by the defendant’s

   packaging of a crabgrass-control product. 315 F.3d at 278. The primary survey question asked,

   “Based on your review of this section of the bag, should this product prevent the growth of

   crabgrass that looks like the crabgrass pictured?” Id. The Fourth Circuit concluded that the use

   of the word “prevent” made the question ambiguous, such that it was unclear if respondents

   believed the defendant’s product would prevent crabgrass from growing in the first instance or

   kill mature crabgrass. Id. That flaw was fatal to the relevance of the survey because “the

   question that [was] key” to the claim was “whether [defendant’s] packaging conveys the

   message that it can kill mature crabgrass,” and the survey responses “shed no light on [that]

   question.” Id.

          The facts in Scotts are complex, but the crux of the Fourth Circuit’s holding is simple:

   whether consumers believed the picture of mature crabgrass on Vigoro packaging advertised

   crabgrass prevention could not help answer the question at issue of whether consumers believed

   the packaging indicated that Vigoro killed crabgrass. Here, Prof. Simonson’s Diversion

   Question suffers from the same fatal flaw. Asking about crabgrass prevention says nothing

   about killing crabgrass in the same way that asking about an “increase in the cost of display

   advertising” says nothing about the effect of an increase in the cost of an advertising technology

   transaction tool. In both cases, the primary survey question is irrelevant, making the survey

   inadmissible.




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          Prof. Simonson’s deposition testimony about the Diversion Question confirms that he

   avoided asking the question that would have been relevant to the claims and defenses in this

   case. Prof. Simonson conceded that “it was not an objective of the survey” to evaluate how

   advertisers would respond to an increase in the cost of the ad tech tools at issue in this case. Exh.

   B, Simonson Tr. 354:4-20. Rather, he made a conscious choice not to ask “whether [survey

   participants] would divert, based on a small but significant change in the cost of ad tech tools.”

   He maintained that would have been a “bad question” because he “was just not sure that

   respondents would understand what [he] was referring to.” Id. 363:14-364:3.

      B. The Diversion Question is Unreliable Because It is Inherently Vague

          Not only is Prof. Simonson’s Diversion Question irrelevant, but it is so vague as to be

   unreliable. Courts have found vague or ambiguous survey questions to be inadmissible under

   Rule 702. See, e.g., Citizens Fin. Group, 383 F.3d 110 at 120-21 (holding that district court

   properly excluded survey that used vague and imprecise language and surveyed consumers

   outside of the relevant customer base). As the FJC Reference Guide explains:

          When unclear questions are included in a survey, they may threaten the validity of
          the survey by systematically distorting responses if respondents are misled in a
          particular direction, or by inflating random error if respondents guess because they
          do not understand the question. If the crucial question is sufficiently ambiguous or
          unclear, it may be the basis for rejecting the survey.

   Id. at 388 (citation omitted); see also Exh. C, Hoyer Rep. ¶ 71.

          On this point, In re Motor Fuel is instructive. There, the court considered a Daubert

   challenge to survey question Q1, which asked, “Do you think each gallon of fuel you buy should

   contain the same amount of fuel as every other gallon of that same fuel or should each gallon not

   contain the same amount of fuel.” 2012 WL 13050523 at *6. Although 97 percent of

   respondents said that each gallon of fuel should contain “the same amount of fuel,” the court



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   determined that Q1 was “very ambiguous” because it was subject to multiple interpretations. Id.

   at *6-7. The plaintiffs’ expert interpreted the phrase “amount of fuel” to mean amount of energy,

   while defendants’ expert interpreted it to refer to volume of fuel. Id. at *7. The court found the

   results of Q1 to be untrustworthy and inadmissible because there was no way to know how the

   survey respondents interpreted the phrase, and the ambiguity was central to the plaintiffs’

   expert’s opinion.

          So too here. Prof. Simonson’s Diversion Question is ambiguous and unreliable because

   it does not define key terms that are ambiguous. The Diversion Question asked respondents to

   explain how they would react if “the cost of programmatic display advertising has recently

   increased by a small but significant amount and will remain elevated for the foreseeable

   future.”12 Exh. A, Simonson Rep. App’x. F (Higher Spend Advertiser Survey), at F.1-13

   (emphasis omitted).13 Respondents were left to speculate on the meaning of the phrases “small

   but significant amount” and “foreseeable future,” and each respondent likely had their own

   subjective interpretation. See Exh. C, Hoyer Rep. ¶ 74. Social science has shown that

   consumers ascribe a range of meanings to phrases like “small but significant” and “foreseeable

   future.” Id., ¶ 74. Some may have been considering a 2% price increase over the course of the

   next month, whereas others may have been considering a 20% price increase over the course of

   the next decade. Regardless, as in Motor Fuel, there is no way to know how respondents



   12
      Whether a hypothetical monopolist can significantly and profitably increase the price of an
   allegedly monopolized product or service is a classic question that economic experts evaluate in
   an antitrust case. But lay survey respondents cannot be expected to know the complex tools
   economists use to answer such a question.
   13
     See also Simonson Report, Appendix H (Ad Agency Survey), at H.1-12 (same question); id.,
   Appendix G (Lower Spend Advertiser Survey), at G.1-13 (question revised to ask about the “cost
   of display advertising” rather than the “cost of programmatic display advertising”).


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   interpreted the key phrases in the Diversion Question, and that ambiguity is central to Prof.

   Simonson’s opinion about advertiser diversion.

          The Diversion Question’s fundamental flaws were apparently by design. Prof. Simonson

   contends that the phrasing of small but significant amount “was designed to leave it to the

   respondent to consider their reaction, if . . . (what they consider to be) a “small but significant”

   increase in the cost of programmatic display advertising occurred.” Exh. A, Simonson Rep. ¶ 17

   n.5, ¶ 65.14 However, in his preliminary interviews, which were a precursor to the final surveys,

   Prof. Simonson tested how respondents considered only two potential numerical increases (5%,

   and, later 10%) in advertising quality, measured as return on investment (ROI) but no other

   values,15 revealing his ability to have tested for and included questions that included more

   precise values. That his ultimate surveys included no values at all, whether specific numerical

   price changes, quality changes, or even a range—whether wide or narrow—of price or quality

   changes in the Diversion Question underscores the vagueness and, therefore, lack of reliability in

   his surveys.

          Prof. Simonson could have corrected or mitigated the flaws in his ultimate surveys by

   applying his findings from his pretest and preliminary interviews, yet failed to do so. And,

   tellingly, Prof. Simonson later admitted that no one involved with the survey bothered to ask any


   14
     Interestingly, when Prof. Simson conducted preliminary interviews he specifically included a
   discrete, numerical amount by which the product at issue had changed. See Exh. A, Simonson
   Rep. App’x D at D-9. While explaining his avoidance of precise numerical price increase, he
   said he included the 5% value merely in order to hear how respondents “think about” the
   question of a change in price and further admitted that he “could have asked a different question”
   including “ask[ing] about X percent, whatever it is, 5 percent, 10 percent” and that he “could
   have asked it in other ways.” Exh. B, Simonson Tr. 208:16-18, 209:20-210:5, 210:11-18.
   15
      Simonson Rep. App’x D at D-9 (“45. Let’s talk about a hypothetical situation. Please imagine
   a situation in which you notice that the ROI of your programmatic display ads goes down by 5
   percentage points . . .”) (emphasis added); see also Exh. B, Simonson Tr. at 209:9-211:19.


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   preliminary interview respondents whether they would consider 5 or 10 percent a “small but

   significant price increase.” Exh. B, Simonson Tr. 337:11-24. Nor did anyone involved with the

   survey try to further explain or quantify the meanings of “foreseeable future” or “remain

   elevated.” Id. at 338:3-7, 16-20. In any event, nowhere did Prof. Simonson retain any

   information about how any preliminary interview participants answered those considerably less

   vague questions.16 Id. at 121:4-20. In sum, because the Diversion Question is irrelevant and

   unreliable, Prof. Simonson’s opinion about advertiser diversion, and Dr. Israel’s reliance on it for

   his opinion about market definition, are inadmissible.

                                            CONCLUSION

          For the forgoing reasons, the Motion should be granted.




   16
     This failure to retain responses is another flaw in Prof. Simonson’s survey. See FJC Reference
   Guide at 394 (in explaining the dangers of failing to record interviews with respondents
   “[f]ailure to record every part of the exchange in the order in which it occurs raises questions
   about the reliability of the survey, because neither the court nor the opposing party can evaluate
   whether the probe affected the views expressed by the respondent.”). Notably, it is important to
   remain wary of how pretest and preliminary interview results are used as respondents’ answers
   may be used to design the ultimate survey in a way that is—improperly—more favorable to one
   party. E.g., Yvonne C. Schroeder, Pretesting Survey Questions: The Procedural and Ethical
   Ramifications, 11 Am. J. Trial Advoc. 195 (1987) (“During litigation, certain statistical results
   obtained from a survey may be more favorable to one party than to the other. Thus, pretesting
   may theoretically be used to obtain a desired result.”).

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   Dated: April 26, 2024

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